                                Case 2:23-mj-00259-EJY Document 2 Filed 03/30/23 Page 1 of 1
                                                                                                                                   PER 18 U.S.C. 3170
                             DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

BY:         INFORMATION
             INFORMATION                  INDICTMENT
                                           INDICTMENT               COMPLAINT CASE NO. 2:23-mj-00259-EJY

Matter Sealed:             Juvenile            Other than Juvenile                    USA vs.
    Pre-Indictment Plea          Superseding             Defendant Added                          JOSEPH LYNN SALES
                                                                                  Defendant:
                                      Indictment         Charges/Counts Added
                                      Information
Name of District Court, and/or Judge/Magistrate Location (City)                   Address:

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
            NEW MEXICO                          Divisional Office

                                      Matthew Schwartz
Name and Office of Person
Furnishing Information on               U.S. Atty    Other U.S. Agency
THIS FORM                             Phone No. (702) 388-6336                             Interpreter Required     Dialect:
 Name of Asst.
 U.S. Attorney         Edward Veronda
 (if assigned)                                                                     Birth                                   ✔ Male                 Alien
                                                                                   Date                                         Female       (if applicable)
                               PROCEEDING
 Name of Complainant Agency, or Person (& Title, if any)
 FBI                                                                                Social Security Number

           person is awaiting trial in another Federal or State Court
           (give name of court)                                                                                   DEFENDANT


                                                                                 Issue:         ✔ Warrant            Summons
           this person/proceeding transferred from another district
           per (circle one) FRCrP 20, 21 or 40. Show District
                                                                                 Location Status:
                                                                                  Arrest Date               or Date Transferred to Federal Custody

           this is a reprosecution of charges
           previously dismissed which were                                                 Currently in Federal Custody
           dismissed on motion of:
                                                                                           Currently in State Custody
               U.S. Atty      Defense
                                                            SHOW                                 Writ Required
          this prosecution relates to a                   DOCKET NO.
                                                                                           Currently on bond
          pending case involving this same
          defendant. (Notice of Related                                                    Fugitive
          Case must still be filed with the
          Clerk.)
                                                             MAG. JUDGE
        prior proceedings or appearance(s)
                                                              CASE NO.
                                                                                 Defense Counsel (if any):
        before U.S. Magistrate Judge
        regarding this defendant were
        recorded under
                                                                                            FPD          CJA            RET'D
                                                                                                  Appointed on Target Letter
Place of
                                                    County
offense

                                                                                          This report amends AO 257 previously submitted

       OFFENSE CHARGED - U.S.C. CITATION - STATUTORY MAXIMUM PENALTIES - ADDITIONAL INFORMATION OR COMMENTS

 Total # of Counts 1
    Set                 Title & Section/Offense Level                                     Description of Offense Charged                       Felony/Misd.
                                                                                                                                                Count(s)
                     (Petty = 1 / Misdemeanor = 3 / Felony = 4)
                                                                                                                                                 Felony
1            18 U.S.C. §§ 371, 2314                                        Conspiracy to Commit Interstate Transportation of Stolen              Misdemeanor
                                                                                                                                                 Felony
                                                                                                                                                 Misdemeanor
                                                                                                                                                 Felony
                                                                                                                                                 Misdemeanor
                                                                                                                                                 Felony
                                                                                                                                                 Misdemeanor
                                                                                                                                                 Felony
                                                                                                                                                 Misdemeanor
             Submit                                     Go
